              Case 1:23-cv-06369-JGLC Document 43 Filed 11/16/23 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
SeanPaul Reyes
                                      Plaintiff(s),

                                                                          23            6369          JC
                                                                                 Civ.             (        )
                      - against -
                                                                          CLERK'S CERTIFICATE
The City of New York                                                          OF DEFAULT

                                    Defendant(s),
-------------------------------------------------------------X

                     I, RUBY J. KRAJICK, Clerk of the United States District Court for

the Southern District of New York, do hereby certify that this action was commenced on
July 24, 2023
                        with the filing of a summons and complaint, a copy of the summons and
                                                      The City of New York
complaint was served on defendant(s)
                             Sarah Jean-Charles
by personally serving                                                                                          ,
                                                          July 28, 2023                      11
and proof of service was therefore filed on                                    , Doc. #(s)                     .

I further certify that the docket entries indicate that the defendant(s) has not filed an

answer or otherwise moved with respect to the complaint herein. The default of the

defendant(s) is/are hereby noted.

Dated: New York, New York

                            , 20                                          RUBY J. KRAJICK
                                                                            Clerk of Court


                                                                 By: _________________________
                                                                           Deputy Clerk




SD N Y W eb 3/2015
